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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                        ANTHONY BROWN,
                                   7                                                          Case No. 15-cv-05155-CRB
                                                        Plaintiff,
                                   8
                                                 v.                                           ORDER OF DISMISSAL
                                   9
                                        TRANSUNION, LLC and TURBO DATA
                                  10    SYSTEM, INC. d/b/a INNOVATIVE
                                        COLLECTION SERVICES,
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




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                                               The parties hereto, by their counsel, having advised the court that they have agreed to a
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                                       settlement of this cause, IT IS HEREBY ORDERED that this cause of action is dismissed
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                                       without prejudice; provided, however that if any party hereto shall certify to this court, within
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                                       thirty (30) days, with proof of service thereof, that the agreed consideration for said settlement has
                                  17
                                       not been delivered over, the foregoing order shall stand vacated and this cause shall forthwith be
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                                       restored to the calendar to be set for trial.
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                                               If no certification is filed, after passage of thirty (30) days, the dismissal shall be with
                                  20
                                       prejudice.
                                  21
                                       Dated: February 3, 2016
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                                                                                          ______________________________________
                                  23                                                      CHARLES R. BREYER
                                                                                          United States District Judge
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